             Case 2:21-cv-00920-JLR Document 45 Filed 07/28/23 Page 1 of 2



 1                                                   THE HONORABLE JAMES L. ROBART
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
                                      AT SEATTLE
 8

 9    AUBRY MCMAHON,
10                                                      CASE NO. 2:21-CV-00920-JLR
                    Plaintiff,
11                                                      JOINT STATEMENT OF THE
             vs.                                        PARTIES ON NEXT ROUND OF
12                                                      SUMMARY JUDGMENT BRIEFING
      WORLD VISION, INC.
13

14                  Defendant.

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16          In accordance with the Court’s 7/24/2023 Order (Dkt. 44), the parties hereby
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     respectfully advise the Court as follows. The parties by counsel met-and-conferred by
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     teleconference on 7/27/2023 to discuss the 7/24/2023 Order and its effect on the
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20   renewed cross-motions for summary judgment (MSJ Round 2). World Vision

21   explained its intention to file a motion for partial reconsideration or clarification of the
22   7/24/2023 Order by end of next week (8/4/2023). Since the parties disagree as to what
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     legal issues remain to be decided, the parties agree that it would be premature to set a
24
     briefing schedule until the Court resolves World Vision’s motion for partial
25

26   reconsideration/clarification.

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       JOINT STATEMENT ON MSJ BRIEFING           Page 1              Ellis | Li | McKinstry
       CASE NO. 2:21-CV-00920-JLR                                    1700 Seventh Avenue, Suite 1810
                                                                     Seattle, WA 98101-1820
                                                                     206.682.0565 Fax: 206.625.1052
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 1         Respectfully submitted,
 2

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